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                         6
                                                           UNITED STATES DISTRICT COURT
                         7
                                                                  DISTRICT OF NEVADA
                         8

                         9     HB PRODUCTIONS, INC., a Nevada                     Case No.: 2:19-cv-1849
                               Corporation
                        10
                                                     Plaintiff,                   COMPLAINT
                        11
                                      v.                                          Jury Demand
                        12
                               DOE DEFENDANTS 1-5.
                        13
                                                     Defendants.
                        14

                        15           HP Productions, Inc. (“Plaintiff”), a Nevada corporation, alleges the following cause of
                        16    action against Defendants:
                        17                                         NATURE OF ACTION
                        18           1.      This matter arises under the United States Copyright Act of 1976, as amended, 17
                        19    U.S.C. §§ 101, et seq. (the “Copyright Act”).
                        20           2.      HP Productions alleges that each Defendant is liable for copyright infringement in
                        21    violation of 17 U.S.C. §§ 106 and 501, by having directly, indirectly, contributorily and/or
                        22    vicariously violated Plaintiff’s exclusive rights in its copyrighted motion picture Hellboy (the
                        23    “Copyrighted Work” or “Work”). Attached hereto as Exhibit 1 is a copy of the US Copyright
                        24    Office Certificate of Registration for Hellboy (USCO Reg. No. PA 2-176-664).
                        25                                   JURISDICTION AND VENUE
                        26           3.      This is a civil action seeking damages and injunctive relief for copyright
                        27    infringement under the copyright laws of the United States (17 U.S.C. § 101 et seq.).
                        28           4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
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                         1    1331 (federal question) and 28 U.S.C § 1338(a) (copyrights).

                         2              5.         As shown on Exhibit 2 attached to this Complaint, each of the Defendants’ acts of

                         3    copyright infringement occurred using an Internet Protocol address (“IP address”) traced to a

                         4    physical location within this District, and therefore, this Court has personal jurisdiction over each

                         5    Defendant because: (a) each Defendant committed the infringing conduct alleged in this

                         6    Complaint in the State of Nevada, or, at a minimum, committed the infringing conduct by

                         7    downloading copyrighted material from or uploading it from Nevada residents located in this

                         8    judicial district, and/or (b) has engaged in business transactions in the State of Nevada.

                         9              6.         Venue in this District is proper under 28 US.C. § 1391(b) and (c), because (1) a
                        10    substantial part of the events or omissions giving rise to the claims occurred in this District; and,

                        11    (2) at least a majority of the Defendants reside in this State. Additionally, venue is proper in this

                        12    District pursuant to 28 U.S.C. § 1400(a) (venue for copyright cases), because at least a majority

                        13    of the Defendants or Defendants’ agents reside in this District.

                        14                                                      PARTIES

                        15    A.        Plaintiff HB Productions, Inc., and its Copyrighted Work

                        16              7.         Plaintiff HB Productions is a corporation registered under the laws of the State of

                        17    Nevada. Plaintiff’s principal offices are in Los Angeles, California, and Plaintiff is an affiliate of

                        18    Millennium Media, a production company and distributor of a notable catalog of major motion

                        19    pictures, including, among others, Rambo, The Expendables, Olympus Has Fallen, London Has

                        20    Fallen,        and    the   Copyrighted    Work    at       issue   in   this   Complaint,   Hellboy.   See

                        21    www.millenniumfilms.com.

                        22              8.         Plaintiff is the owner of the exclusive rights under copyright in the United States

                        23    in Hellboy.

                        24              9.         The plot of the Work is based on the graphic novels by Mike Mignola – Hellboy,

                        25    caught between the worlds of the supernatural and human, battles an ancient sorceress bent on

                        26    revenge. The Work was released in April 12, 2019.

                        27              10.        Hellboy was registered with the United States Copyright Office by HB

                        28    Productions, Inc., effective April 12, 2019 and assigned Registration No. PA 2-176-664. (Exhibit
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                         1    1).

                         2              11.    Under the Copyright Act, Plaintiff is the proprietor of all right, title, and interest

                         3    in Hellboy, including the exclusive rights to control the reproduction and distribution of the

                         4    Copyright Motion Picture to the public and the right to sue for past infringement.

                         5              12.    Hellboy contains wholly original material that is copyrightable subject matter

                         6    under the laws of the United States. It is easily discernible as a professional work as it was created

                         7    using professional performers, directors, cinematographers, lighting technicians, set designers and

                         8    editors and with professional-grade cameras, lighting and editing equipment. It has significant

                         9    value and has been created, produced and lawfully distributed at considerable expense.
                        10              13.    The viewing of Hellboy is currently or has been offered for sale in commerce, in

                        11    theaters and is available for rental and/or purchase from Amazon, iTunes and Netflix, among

                        12    others.

                        13    B.        Defendants

                        14              14.    Each Defendant is known to the Plaintiff only as an unidentified user of an IP

                        15    address traced to a physical location within this District at a specific date and time (see Exhibit

                        16    2).

                        17              15.    An IP address is a number that is assigned by an Internet Service Provider (an

                        18    “ISP”) to a subscriber of its Internet connection services during a specified period of time.
                        19              16.    Identifying the subscriber assigned to an IP address at a specific time can lead to

                        20    the identity of the probable user or users of the IP address at that precise time when infringing

                        21    conduct was detected and thereby lead to a copyright infringement Defendant’s true identity.

                        22                                       GENERAL ALLEGATIONS

                        23    A.        Reasons for Seeking Relief from this Court

                        24              17.    Plaintiff comes to court seeking relief because its Work has been illegally pirated

                        25    over the Internet thousands of times worldwide, and many of these instances of piracy occurred

                        26    in this judicial district.

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                         1           18.     The Defendants are not merely illegal viewers of the Plaintiff’s Work, but they are

                         2    also parties that maintained the motion picture in a manner that facilitated further distribution and

                         3    infringing activity by others.

                         4           19.     The IP addresses that were used or accessed by the Defendants have also been

                         5    observed as associated with the peer-to-peer exchange of numerous other titles in violation of

                         6    others’ copyrights through the BitTorrent network, and this activity indicates that the Defendants’

                         7    misconduct has been willful and persistent.

                         8           20.     The volume and titles of the activity associated with each IP address accessed by

                         9    each Defendant indicates that each Defendant is likely either the primary subscriber assigned to
                        10    the IP address, someone who resides with the primary subscriber, or someone who is an authorized

                        11    user of the IP address and had consistent and permissive access to it.

                        12           21.     The volume of the activity associated with the IP address accessed by each

                        13    Defendant indicates that anyone actively using or observing activity on that IP address would

                        14    likely be aware of that Defendant’s conduct that is alleged in this Complaint.

                        15           22.     The Defendants had notice of the Plaintiff’s rights through general publication and

                        16    advertising, including, but not limited to, publication in the credits of the Work, the Plaintiff’s

                        17    copyrighted motion picture, which bear a legally enforceable copyright notice.

                        18           23.     On the specific dates and times of the infringing activities alleged in this Complaint
                        19    (Exhibit 2), the IP addresses accessed by the Defendants were managed by ISPs, who on

                        20    information and belief, generally assign an IP address to a single party for extended periods of

                        21    time, often for months, and provide Wi-Fi systems with pre-installed security and passwords.

                        22           24.     ISPs generally notify and inform their subscribers about the importance of security,

                        23    put their subscribers on notice that they are each responsible for the activity associated with their

                        24    account, and caution their subscribers not to allow third party or unauthorized access.

                        25           25.     The records maintained by each respective ISP can identify either each Defendant,

                        26    or, at a minimum, the subscriber who contracted with the ISP for service, who, in turn, is likely

                        27    to have knowledge that will lead to the identity of each Defendant.

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                         1              26.     The Plaintiff intends to seek limited expedited discovery, including leave to

                         2       subpoena information from any relevant ISP, in order to ascertain the true identity of each

                         3       Defendant and be in a position to timely and properly serve each Defendant with a Summons and

                         4       a copy of this Complaint, or, more specifically, an Amended Complaint naming a Defendant or

                         5       Defendants.

                         6       B.     Defendants Used BitTorrent to Infringe Plaintiff’s Copyrighted Movie

                         7              27.     The acquisition, copying, and transfer of the Plaintiff’s motion picture, its

                         8       Copyrighted Work, is accomplished by the Defendants by their use of a BitTorrent protocol (in

                         9       other words, set of computer rules) or “torrent.”
                        10              28.     The BitTorrent protocol is different from other Peer-to-Peer (“P2P”) networks.

                        11       The BitTorrent protocol makes even small computers with low bandwidth capable of participating

                        12       in large data transfers across a P2P network. Accordingly, the BitTorrent protocol has become the

                        13       most common peer-to-peer Internet file sharing protocol used for distributing large amounts of

                        14       data; indeed, it has been estimated that users of the BitTorrent protocol on the Internet account

                        15       for over a quarter of all Internet traffic, and the creators and users of BitTorrent have developed

                        16       their own lexicon for use when talking about BitTorrent.1

                        17              29.     The BitTorrent protocol’s popularity stems from its ability to distribute a large file

                        18       without creating a heavy load on the source computer and network. In order to reduce the load on

                        19       the source computer, rather than downloading a file from a single source computer (one computer

                        20       directly connected to another), the BitTorrent protocol allows users, called “peers,” to join a

                        21       network over the Internet, called a “swarm,” of host computers to download and upload from each

                        22       other to: (1) make files stored on a user’s computer (e.g. motion pictures) available for copying

                        23       by other users; (2) search for files stored on other computers; and, (3) transfer exact copies of files

                        24       from one computer to another over the Internet.

                        25

                        26
                             1
                              Definitions of relevant portions of the BitTorrent vocabulary, which are fully incorporated herein, are set
                        27   forth in several federal cases, See BKGTH Productions, LLC v. John Does 1-3, 5-10, 12, 15-16, Civil Action
                             No. 13-cv-01778-WYD-MEH, Dkt. #54, December 9, 2013, citing Patrick Collins, Inc. v. John Does 1-28,
                        28   No. 12-13670, 2013 WL 359759 (E.D. Mich. Jan. 29, 2013).
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                         1           30.     The use of BitTorrent requires multiple intentional acts. Its use requires the loading

                         2    of specific software, then it requires that the user join a swarm, or network. Then it requires the

                         3    user to both search for a file and select the file chosen for downloading and distribution over the

                         4    network.

                         5           31.     As each user, or peer, joins the network and requests a copy of a file, that user

                         6    forms a type of social contract with the other users in the network to both download the file and

                         7    be part of the network in order to allow the file to be downloaded by other users, i.e., other peers

                         8    in the network. Each new peer requesting the file receives pieces of the data from every other

                         9    peer who has already downloaded the file, and then that new peer, in turn, makes that content
                        10    available to other users in the network.

                        11           32.     Because the BitTorrent protocol also generally limits a peer’s ability to download

                        12    unless he or she also uploads or shares, there is substantial incentive for each peer to remain online

                        13    and continue to make files available for other peers to download, because remaining online

                        14    maximizes his or her download speed and access to additional content.

                        15           33.     Defendants have been observed making the Plaintiff’s copyrighted motion picture,

                        16    its Copyrighted Work, available to others in furtherance of a BitTorrent network, without

                        17    Plaintiff’s authorization.

                        18           34.     Specifically, Plaintiff retained Maverickeye UG (“MEU”) to identify the IP
                        19    address that are being used by those individuals that are using the BitTorrent protocol and the

                        20    Internet to reproduce, distribute, display or perform the Plaintiff’s Work.

                        21           35.     MEU uses proprietary forensic software to enable the scanning of peer-to-peer

                        22    networks for the presence of infringing transactions.

                        23           36.     MEU extracted the resulting data emanating from its investigation, reviewed the

                        24    evidence logs, and isolated the transactions and the IP addresses associated therewith for the files

                        25    identified by the SHA-1 hash value of: E1F8020C12028A1C9AC791E790FDC53F3F65A3E4

                        26    (“the “Unique Hash Number). (See Exhibit 2).

                        27

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                         1              37.    The IP addresses, Unique Hash Number, and infringement dates and times are

                         2    shown on the Exhibit 2, attached to this Complaint, accurately reflect what is contained in the

                         3    evidence logs, and show:

                         4                     (A)    Each Defendant had copied a piece of the Plaintiff’s Work identified by the

                         5                            Unique Hash Number; and

                         6                     (B)    Therefore, each Defendant was part of the same series of transactions.

                         7              38.    Through each of the transactions, each of the Defendants’ computers or devices

                         8    used their identified IP addresses to connect to the investigative server from a computer or device

                         9    in this District in order to transmit a full copy, or a portion thereof, of a digital media file identified
                        10    by the Unique Hash Number.

                        11              39.    An agent or employee of MEU analyzed each BitTorrent “piece” distributed by

                        12    each IP address listed on Exhibit 2 and verified that re-assemblage of the piece using a BitTorrent

                        13    Client results in a fully playable digital motion picture of the Work that is identical, strikingly

                        14    similar, or substantially similar to the Plaintiff’s original Copyrighted Work.

                        15              40.    Further, an agent or employee of MEU confirmed that each Defendant was actively

                        16    distributing, or “seeding,” the Plaintiff’s Work to other peers in the same swarm.

                        17              41.    Additional software using geolocation functionality is then used to confirm the

                        18    geographical location of the computer used in the infringement.
                        19              42.    Though an IP address alone does not reveal the name or contact information of the

                        20    account holder, in this case the Internet Subscriber, it does reveal the likely general location of

                        21    the Defendant.

                        22              43.    IP addresses are distributed to ISPs by public, nonprofit organizations called

                        23    Regional Internet Registries. These registries assign blocks of IP addresses to ISPs by geographic

                        24    region.

                        25              44.    In the United States, these blocks are assigned and tracked by the American

                        26    Registry of Internet Numbers. Master tables correlating the IP addresses with local regions are

                        27    maintained by these organizations in a publicly available and searchable format. An IP address’

                        28    geographic location can be further narrowed by cross-referencing this information with secondary
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                         1       sources such as data contributed to commercial databases by ISPs. This regional data of IP

                         2       addresses puts the Defendants in this judicial district.

                         3               45.     The end result of the forensic software are evidence logs of infringing transactions

                         4       and the IP addresses of the users responsible for copying and distributing the audiovisual work,

                         5       here Hellboy. The IP addresses, Unique Hash Number, dates and times, ISP and geolocation

                         6       contained in Exhibit 2 correctly reflect infringers using the IP addresses and that they were all

                         7       part of a “swarm” of users that were reproducing, distributing, displaying and/or performing the

                         8       Copyrighted Work in this judicial district.2

                         9       C.      The Business of Piracy and Harm to Plaintiff and Society
                        10               46.     Internet piracy, particularly BitTorrent piracy, though known as peer-to-peer file

                        11       sharing, is often a for-profit business, because many software clients, torrent sites, and networks

                        12       generate millions of dollars in revenue through sales and advertising.

                        13               47.     To increase the value of the advertising and sometimes subscription access sold by

                        14       torrent sites, many parties work to expand the pool of available titles and speed of downloads

                        15       available by increasing the number of member peers and, thus, the desirability of their clients and

                        16       networks. To accomplish this, they often reward participants who contribute by giving them faster

                        17       download speeds, greater access, or other benefits.

                        18               48.     Defendants’ participation in the BitTorrent exchange of Plaintiff’s Copyrighted
                        19       Work is the type of activity that torrent sites use to promote their business and likely directly

                        20       furthered the for-profit business of at least one torrent site.

                        21

                        22

                        23
                             2
                               In logs kept in the ordinary course of business, local ISPs keep track of the IP addresses assigned to their
                        24   customers/subscribers. Once provided with an IP address, plus the date and time of the detected and
                             documented infringing activity, ISPs can use their subscriber logs to identify the subscriber with more
                        25   specificity, namely name, address and contact information. Only the ISP to whom a particular IP address
                             has been assigned for use by its subscribers can correlate that IP address to a particular subscriber. From
                        26   time to time, a subscriber of Internet services may be assigned different IP addresses from their ISP. Thus,
                             to correlate a subscriber with an IP address, the ISP also needs to know when the IP address was being used.
                        27   Unfortunately, many ISPs only retain for a very limited amount of time the information necessary to
                             correlate an IP address to a particular subscriber, making early discovery necessary and important.
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                         1              49.    Many parties, and likely some or all of the Defendants, have been compensated for

                         2    their participation in expanding the availability of pirated content, such as the Plaintiff’s

                         3    Copyrighted Work, to others through BitTorrent networks, even if only through being granted

                         4    greater access to other pirated content.

                         5              50.    The National Crime Prevention Council has recently underscored the serious

                         6    ramifications that flow from motion picture copyright infringement:

                         7                     The individuals and industries that produce the original goods that are
                                               subsequently pirated are important to the U.S. economy. The
                         8                     entertainment industry in the United States employs 2.9 million people,
                                               or 2.1 percent of all U.S. jobs. The 668,000 U.S. businesses that are
                         9                     involved in the creation or distribution of creative works represent more
                                               than 4 percent of all businesses. The U.S. movie and television
                        10                     industries alone produce a trade surplus of more than $13 billion each
                                               year. But each year, more than 300,000 people that depend on
                        11                     copyrighted industries lose their jobs as a direct result of piracy.
                                               This includes not just the authors of creative works, but all those
                        12                     who derive the income from producing and distributing their
                                               work-movie theater staff, video store operators, movie extras,
                        13                     sound technicians, set decorators, even the caterers who supply the
                                               set or studio and the drivers that transport the crews.
                        14

                        15    See https://www.ncpc.org/resources/ip-theft/pirated-products, (December 21, 2017) (emphasis

                        16    added).

                        17              51.    Therefore, the impact of piracy is far greater than the mere loss of a single sale or

                        18    loss due to the distribution of one copy of a motion picture. Piracy undermines the economy, job

                        19    base, and tax base on which our citizens rely, promotes a general disregard for the rights of others

                        20    and the law, and is particularly harmful to persons and entities in the independent film industry,

                        21    such      as    those   persons    and     entities       associated   with   the   Plaintiff.    See

                        22    https://www.theguardian.com/film/2014/jul/17/digital-piracy-film-online-counterfeit-dvds

                        23    (December 21, 2017).

                        24              52.    Based on observed activity associated with Defendants’ IP addresses, the

                        25    Defendants are prolific proponents of the BitTorrent distribution system and thereby of advancing

                        26    the BitTorrent economy of piracy.

                        27              53.    Accordingly, giving effect to 17 U.S.C. §§ 101 et seq., and the enforcement of the

                        28    intellectual property rights of persons, such as Plaintiff, who are affiliated with independent film
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                         1    makers, and supporting their fight against the counterfeiting and piracy of their creative works, is

                         2    critically important to the welfare of citizens in both the United States of America and the State

                         3    of Nevada.

                         4              54.   By engaging in the infringement misconduct alleged in this Complaint, the

                         5    Defendants deprived not only the producer of the Work from income derived from its showing in

                         6    public theaters, but also all persons involved in the production and marketing of this motion

                         7    picture, numerous owners of local theaters in Nevada where it has been shown, and their

                         8    employees, numerous other local theaters where it might have otherwise been shown, and their

                         9    employees, and, ultimately, the local Nevada economy. The Defendants’ misconduct at issue in
                        10    this case therefore deeply offends public policy and warrants fully granting Plaintiff’s requested

                        11    relief.

                        12                                                JOINDER

                        13              55.   Each Defendant is alleged to have committed violations of 17 U.S.C. § 101 et. seq.

                        14    within the same series of transactions or occurrences (e.g. downloading and distribution of the

                        15    same Copyrighted Work owned by Plaintiff) and by using the same means (BitTorrent network)

                        16    at or about the same time as established by the contemporary exchange of the files bearing the

                        17    same Unique Hash Number.

                        18              56.   In this case, Plaintiff's Copyrighted Work or parts thereof bear the Unique Hash

                        19    Number shown in Exhibit 2 and was included in at least one file of the related torrent file swarm

                        20    exchange joined by each Defendant.

                        21              57.   In other words, all of the infringements alleged in this lawsuit arise from the same

                        22    unique copy of Plaintiff's movie as evidenced by the same cryptographic hash ID. The Defendants

                        23    are all part of the same “swarm” revealed by the Unique Hash Number. Each Defendant has access

                        24    to the file(s) containing the Copyrighted Work and the files copied and shared in the swarm

                        25    contain content matching the Copyrighted Work.

                        26              58.   Defendants’ acts occurred in the same or related series of torrent transactions

                        27    because each Defendant downloaded and/or distributed, or offered to distribute Hellboy to other

                        28    infringers on the torrent network, including the other Defendants and/or other network users, who
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                         1    in turn without permission from Plaintiff downloaded and/or distributed the Copyrighted Work.

                         2             59.   The temporal proximity of the monitored and observed acts of each Defendant,

                         3    together with the known propensity of BitTorrent participants to actively exchange files

                         4    continuously for hours and even days, or over a period of weeks or months, makes it apparent that

                         5    Defendants either directly exchanged the motion picture with each other, or did so through

                         6    intermediaries and each shared in the distribution of the Work to others bearing the same Unique

                         7    Hash Number.

                         8             60.   Therefore, Defendants each combined with other infringers on the BitTorrent

                         9    network to copy and/or distribute the Work, either in the same transaction or occurrence or a series
                        10    of intentionally related transactions or occurrences.

                        11             61.   This combination is established because using BitTorrent requires the

                        12    user/seeder/peer to intentionally download a program from BitTorrent that they then install on

                        13    their computer called a “client.”

                        14             62.   The BitTorrent client is the user’s interface during the downloading/uploading

                        15    process. The client may be free, supported by advertising, offer upgrades or add on services for a

                        16    fee, or a combination of several options. The initial seeder uses the client to divide the uploaded

                        17    content, in this case Plaintiff’s Copyrighted Work, into pieces saved as electronic files and

                        18    delivers the pieces to different requesting peers.
                        19             63.   The recipient peers then automatically begin delivering the piece they just received

                        20    to other peers in the swarm.

                        21             64.   Once a peer has downloaded all the pieces, the client reassembles the pieces and

                        22    the peer is able to view the movie. Also, once a peer has downloaded all the pieces, that peer

                        23    becomes known as an “additional seed” because it now continues to download pieces to other

                        24    peers.

                        25             65.   A significant element of the BitTorrent economic model is that those who

                        26    participate and download movies not only share and upload movies with others without charge

                        27    among themselves, but participants are often rewarded through various means based on the

                        28    volume and availability of content seeders/peers in turn provide the network.
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                         1           66.      Each Defendant is a participant in the BitTorrent distribution of pirated files, and

                         2    the substantially similar conduct of each Defendant furthers a model of business that profits from

                         3    theft of intellectual property including Plaintiff’s Copyrighted Work.

                         4           67.      Accordingly, pursuant to Fed.R.Civ.P. 20(a)(2) each of the Defendants is therefore

                         5    properly joined at least because: (a) the infringement complained of herein by each of the

                         6    Defendants was part of a series of transactions involving an identical copy of Plaintiff’s

                         7    Copyrighted Work; (b) the conduct of each Defendant jointly and collectively supported and

                         8    advanced an economic business model of avoiding payment to the copyright holder and/or

                         9    profiting from the piracy of Plaintiff’s Copyrighted Work; (c) there are common questions of law
                        10    and fact; and (c) each Defendant knowingly and actively participated in a combination to perform

                        11    an illegal act and/or injure Plaintiff through use of the BitTorrent protocol to infringe Plaintiff's

                        12    Copyrighted Work.

                        13           68.      Permissive joinder in the instant case permits a more efficient management of

                        14    Plaintiff’s claims against the several Defendants, reduces the costs to Plaintiff and Defendants

                        15    and reduces the costs and burdens on the Court.

                        16           69.      Nevertheless, notice is hereby provided that on being specifically identified and

                        17    on request from an identified Defendant, Plaintiff agrees to sever any Defendant that establishes

                        18    material unfair prejudice in being joined in this matter and to proceed against each such Defendant
                        19    individually.

                        20                                      FIRST CLAIM FOR RELIEF

                        21                           (Copyright Infringement - 17 US.C. § 101 et seq.)

                        22           70.      Plaintiff repeats and realleges the allegations in the previous Paragraphs as if fully

                        23    set forth and incorporates them herein by reference.

                        24           71.      Plaintiff owns the exclusive rights to the commercially released motion picture

                        25    Hellboy, which has significant value and has been acquired, produced and created at considerable

                        26    expense.

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                         1              72.   At all relevant times, Plaintiff has been the holder of the pertinent exclusive rights

                         2    infringed by Defendants to the Copyrighted Work Hellboy. The Copyrighted Work is the subject

                         3    of a valid Certificate of Copyright Registration, attached hereto as Exhibit 2.

                         4              73.   Plaintiff is informed and believes that each Defendant, without the permission or

                         5    consent of Plaintiff, has used, and continues to use, an online media distribution system to

                         6    wrongfully misappropriate, reproduce and distribute to the public, including by making available

                         7    for distribution to others, the Copyrighted Work.

                         8              74.   On information and belief, each Defendant participated in a swarm and/or

                         9    reproduced and/or distributed the same seed file(s) of the Work in digital form either directly with
                        10    each other or through a series of knowingly intended and related transactions.

                        11              75.   Plaintiff has identified each Defendant by the IP address assigned to that Defendant

                        12    by his or her ISP and the date and at the time at which the infringing activity of each Defendant

                        13    was observed.

                        14              76.   In addition, or in the alternative, Defendants acted to obtain Internet access through

                        15    an ISP and permitted, facilitated and materially contributed to the extensive use of the Internet

                        16    through his/her ISP to infringe Plaintiff's exclusive rights under The Copyright Act by or with

                        17    others.

                        18              77.   Defendants, with knowledge of the infringing conduct and under an obligation to
                        19    monitor and stop infringement, failed to reasonably secure, police and protect the use of his/her

                        20    Internet service against use for improper purposes such as piracy, including the downloading and

                        21    sharing of Plaintiff's Copyrighted Work by others.

                        22              78.   Defendants had the obligation and reasonable ability to supervise and control the

                        23    activity constituting the infringement.

                        24              79.   In doing so, each Defendant has directly, indirectly, contributorily and/or

                        25    vicariously violated Plaintiff’s exclusive rights of at least reproduction, preparation of derivative

                        26    works, and distribution of the Copyrighted Work.

                        27              80.   Each of the actions of the Defendants described herein constitute infringement of

                        28    Plaintiff’s exclusive rights protected under 17 US.C. § 101 et seq.
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                         1            81.     The Copyrighted Work contains a copyright notice advising the viewer that the

                         2    motion picture is protected by federal copyright laws. Each of the Defendants’ actions with respect

                         3    to copyright infringement and other acts described herein were made with full knowledge of

                         4    Plaintiffs ownership of the copyrights in the Work.

                         5            82.     The conduct of each Defendant is causing and, unless enjoined and restrained by

                         6    this Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be

                         7    compensated or measured in money.

                         8            83.     Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. §§ 502 and 503,

                         9    Plaintiff is entitled to injunctive relief prohibiting each Defendant from further infringing
                        10    Plaintiff’s Copyrighted Works and ordering that each Defendant destroy all copies of the Work

                        11    made in violation of the Plaintiff’s copyrights.

                        12            84.     By reason of the foregoing acts, if such remedy is elected at trial, Plaintiff is

                        13    entitled to statutory damages from each Defendant pursuant to 17 USC §504, et seq.

                        14    Alternatively, at Plaintiff's election, Plaintiff is entitled to its actual damages incurred as a result

                        15    of each Defendants’ acts of infringement plus any profits of Defendants attributable to the

                        16    infringements in an amount of at least $10,000.00.

                        17            85.     The foregoing acts of infringement have been willful or willfully blind, intentional,

                        18    and in disregard of, and with indifference to, the copyrights of Plaintiff.
                        19            86.     As a result of each Defendant’s infringement of Plaintiff’s exclusive rights under

                        20    copyright, Plaintiff is entitled to its attorneys’ fees and costs pursuant to 17 US.C. § 505.

                        21                                         PRAYER FOR RELIEF

                        22    WHEREFORE, Plaintiff prays for judgment against each Defendant as follows:

                        23            (A)     A finding and judgment that each Defendant has infringed Plaintiff’s copyright in

                        24    the motion picture Hellboy.

                        25            (B)     Pursuant to 17 U.S.C. §502, an order preliminarily and permanently enjoining each

                        26    Defendant from directly or indirectly infringing Plaintiff’s rights in Hellboy including without

                        27    limitation by using the Internet to reproduce or copy, distribute or otherwise make available for

                        28    distribution to the public Hellboy, except pursuant to a lawful license or with the express authority
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                         1    of Plaintiff.

                         2            (C)     Pursuant to 17 U.S.C. § 503, an order that each Defendant destroy all copies of

                         3    Hellboy that Defendant has downloaded onto any computer hard drive or server without Plaintiff’s

                         4    authorization and shall destroy all copies of Hellboy transferred onto any physical medium or

                         5    device in each Defendant’s possession, custody, or control.

                         6            (D)     An order that each Defendant file with this Court and serve on Plaintiff, within 30

                         7    days of service of notice of judgment, a report in writing under oath setting forth in detail the

                         8    manner and form in which Defendants have complied with the terms of the ordered relief.

                         9            (E)     Pursuant to 17 U.S.C. § 504 or other applicable provisions, for actual damages in
                        10    the amount of at least $10,000.00, or statutory damages, from each Defendant, at the election of

                        11    Plaintiff, and a finding of willful infringement.

                        12            (F)     Pursuant to 17 U.S.C. § 505, for Plaintiff’s reasonable attorney’s fees and costs.

                        13            (G)     For such other and further relief as the Court deems proper.

                        14                                      DEMAND FOR JURY TRIAL

                        15            Plaintiff hereby demands a trial by jury on all issues so triable.

                        16            Dated: October 1, 2019.

                        17                                                   WEIDE & MILLER, LTD.

                        18                                                   /s/ F. Christopher Austin
                                                                             F. Christopher Austin (NV Bar No. 6559)
                        19                                                   caustin@weidemiller.com
                        20                                                   10655 Park Run Drive, Suite 100
                                                                             Las Vegas, NV 89144
                        21                                                   Attorney for Plaintiff HB Poductions, Inc.

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                  EXHIBIT 1




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                  EXHIBIT 2




                  EXHIBIT 2
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No              IP    Port             Client                 Hit Date UTC                           File Name                  File Hash            ISP           Region           City         Province
 1   68.104.57.53      15359   [unknown Client]     2019-09-15 18:23:44      Hellboy (2019) [WEBRip] [1080p] [YTS.LT]   SHA1: E1F8020C12028A1C9AC791E790FDC53F3F65A3E4
                                                                                                                                                Cox Communications
                                                                                                                                                            Nevada          Las Vegas      Clark County
 2   98.160.134.253    34674   µTorrent Mac 1.8.7   2019-07-21 14:16:25      Hellboy (2019) [WEBRip] [1080p] [YTS.LT]   SHA1: E1F8020C12028A1C9AC791E790FDC53F3F65A3E4
                                                                                                                                                Cox Communications
                                                                                                                                                            Nevada          Las Vegas      Clark County
 3   70.189.175.184    50804   libtorrent 1.0.0     2019-07-16 00:30:49      Hellboy (2019) [WEBRip] [1080p] [YTS.LT]   SHA1: E1F8020C12028A1C9AC791E790FDC53F3F65A3E4
                                                                                                                                                Cox Communications
                                                                                                                                                            Nevada          Las Vegas      Clark County
 4   68.108.26.187     62222   qBittorrent 4.1.6    2019-07-13 22:20:55      Hellboy (2019) [WEBRip] [1080p] [YTS.LT]   SHA1: E1F8020C12028A1C9AC791E790FDC53F3F65A3E4
                                                                                                                                                Cox Communications
                                                                                                                                                            Nevada          Las Vegas      Clark County
 5   70.173.197.128     8999   qBittorrent 4.1.6    2019-07-12 18:01:04      Hellboy (2019) [WEBRip] [1080p] [YTS.LT]   SHA1: E1F8020C12028A1C9AC791E790FDC53F3F65A3E4
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